                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND


    Arthur M. Love                               *
                              Plaintiff(s)
                                                 *
                      vs.                                     Civil Action No. RDB-21-2029
                                                 *
   Larry Hogan, et al.
                              Defendant(s)       *

                                               ******

                                               ORDER


          Plaintiff(s) having failed to serve the summons and complaint upon Larry Hogan, et al.

within 90 days after the filing of the complaint, it is, this 16th day of December, 2021,

          ORDERED that plaintiff(s) show good cause within 14 days of the date of this order why

the complaint should not be dismissed as to the above named defendant(s) without prejudice

pursuant to Fed. R. Civ. P. 4(m) and Local Rule 103.8.a.



                                                      /s/
                                                      Richard D. Bennett
                                                      United States District Judge




Rule 4m Show Cause Order Court (Rev. 9/2016)
